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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT

 GARRETT SITTS, et al.,

      Plaintiffs,                          Civil Action No. 2:16-cv-00287-cr

 v.

  DAIRY FARMERS OF AMERICA, INC. and
  DAIRY MARKETING SERVICES, LLC,

      Defendants.



 DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
  SERVICES LLC’S MOTION IN LIMINE NO. 9: TO PRECLUDE EVIDENCE AND
ARGUMENT THAT DFA IS NOT AN AGRICULTURAL COOPERATIVE OPERATED
    FOR THE MUTUAL BENEFIT OF ITS MEMBERS UNDER THE CAPPER-
                           VOLSTEAD ACT
                   AND MEMORANDUM IN SUPPORT

                    EVIDENTIARY HEARING REQUESTED
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       Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services, LLC

(collectively “DFA”) bring this motion in limine under Federal Rules of Evidence 401, 402, and

403 to preclude evidence and argument challenging DFA’s status as an agricultural cooperative

that is operated for the mutual benefit of its members under the Capper-Volstead Act (“Act”). This

motion is not about whether the Act immunizes DFA from antitrust liability for the specific

conduct alleged by plaintiffs. It addresses only the distinct, threshold question of whether plaintiffs

can argue that DFA does not qualify for the Act’s protections in the first instance.1

       Plaintiffs have made it abundantly clear that they intend to argue to the jury that DFA fails

to qualify for any of the Act’s protections because, they claim, DFA has not been operated for the

“mutual benefit” of its members.2 In support of that argument, plaintiffs intend to question the

wisdom of an array of DFA’s business decisions over the last twenty years including, among other

things, DFA’s decisions to invest in processing plants3; to invest a portion of the cooperative’s

earnings to grow its commercial business and to cover administrative expenses4; and to attract,

retain, and compensate top management talent.5 Plaintiffs also take issue with two unauthorized

payments involving a DFA employee almost two decades ago.6 In plaintiffs’ subjective view,

DFA’s members would have been better off had the cooperative managed its business differently.


1
       Because motions in limine are not due until June 17, 2020, DFA reserves the right to file
additional motions in limine after this date.
2
        See Pls.’ Statement of Disputed Material Facts in Supp. of Opp’n to Defs.’ Mot. for Summ.
J. § X(B), ECF No. 102 (“PSOF”); see also id. ¶ 93 (“DFA CEO Rick Smith testified that DFA,
as a cooperative, must operate for the mutual benefit of the farmer-members.”).
3
       Id. ¶¶ 97-98.
4
       Id. ¶¶ 101-05.
5
       See id. ¶¶ 105, 114.
6
      Id. ¶ 112. These rogue actions involving a long-gone former employee are the subject of
DFA’s separate Motion in Limine No. 3: To Preclude Evidence of Payments to the Individuals
Herman Brubaker and Buckey Jones, ECF No. 202 (filed May 21, 2020).
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          But in the nearly 100 years that have passed since Congress enacted the Capper-Volstead

Act, no court has so much as hinted that a duly-formed agricultural cooperative, operated for the

purpose of handling, processing, preparing for market, and marketing its members’ farm products,

can be stripped of the Act’s protections by faulting management’s business judgment or by

pointing to any rogue action of an individual employee or member.7 This Court should not be the

first. The “mutual benefit” provision serves to limit the Act’s protections to associations owned

and operated for the benefit of their farmer members when those farmers are acting as producers

of agricultural products, rather than corporations where profits inure to stockholders. And the

United States Department of Agriculture (“USDA”) regularly reviews and certifies associations as

qualifying cooperatives under the Capper-Volstead Act—including DFA, specifically—based on

purely objective indicia of the cooperative’s structure and operations. Plaintiffs’ attempt to

transform the “mutual benefit” provision from an objective inquiry into a subjective and open-

ended assessment of a cooperative’s business decisions is unprecedented and unworkable, and any

such approach would harm the very farmers Congress intended to protect. A ruling precluding

evidence and argument regarding the “mutual benefit” provision is needed now to ensure a fair

trial.8

                                             ARGUMENT

          Courts play a vital role in ensuring that juries decide cases under a correct interpretation of

the law and based only on relevant evidence. Fed. R. Evid. 401, 402. Plaintiffs have made clear



7
          See supra n.6 (discussing Motion in Limine No. 3).
8
       DFA submitted separate motions in limine to explain why plaintiffs’ “mutual benefit”
evidence is irrelevant on the merits or otherwise inadmissible under the Rules of Evidence. DFA
will not repeat those arguments here. This motion explains why plaintiffs’ argument that this
evidence bears on whether DFA is a qualified cooperative under the Capper-Volstead Act is wrong
as a matter of law.


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that they intend to present evidence and argument regarding various business and investment

decisions to argue that DFA fails to satisfy the Capper-Volstead Act’s requirement that an

agricultural association “operate for the mutual benefit” of its members. Because the relevance of

this evidence and argument presents a purely legal question regarding the correct interpretation of

the “mutual benefit” language, this Court must first interpret that statutory phrase. See, e.g.,

Henderson v. Nat’l R.R. Passenger Corp., 87 F. Supp. 3d 610, 614-15 (S.D.N.Y 2015) (ruling on

motion in limine to preclude evidence where relevance turned on an issue of “first impression”

regarding the interpretation of a federal statute).

I.     THE “MUTUAL BENEFIT” REQUIREMENT ENSURES THAT THE ACT’S
       PROTECTIONS ARE LIMITED TO AGRICULTURAL ASSOCIATIONS IN
       WHICH MEMBERS SHARE THE RISKS AND REWARDS OF OPERATION

       No court has considered relevant the sort of evidence and argument that plaintiffs intend

to present at trial to argue against DFA’s qualification as a Capper-Volstead cooperative. For good

reason. Like the Act’s other requirements, the “mutual benefit” language operates objectively,

focusing on how the association distributes the benefits and burdens of membership. This

understanding of “mutual benefit” is compelled by the longstanding practice of the United States

Department of Agriculture, the Act’s text and history, and its surrounding statutory context.

       A.      The Capper-Volstead Act Lays Out Purely Objective Criteria for
               Qualification

       The Capper-Volstead Act provides that “[p]ersons engaged in the production of

agricultural products as farmers, planters, ranchmen, dairymen, nut or fruit growers may act

together in associations, corporate or otherwise, with or without capital stock, in collectively

processing, preparing for market, handling, and marketing” the “products of persons so engaged.”

7 U.S.C. § 291. It expressly authorizes agricultural cooperatives to “have marketing agencies in

common” and “make the necessary contracts and agreements to effect such purposes.” Id.


                                                      3
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Congress intended the Act to give farmers “the same ‘unified competitive advantage’ available to

businessmen acting through corporations.” Fairdale Farms v. Yankee Milk, Inc., 635 F.2d 1037,

1043 (2d Cir. 1980) (quoting Md. & Va. Milk Producers Ass’n v. United States, 362 U.S. 458, 466

(1960)).

       The Act imposes several requirements that an association must satisfy. First, the Act

requires an association to limit its membership to “[p]ersons engaged in the production of

agricultural products.” 7 U.S.C. § 291; see also Case-Swayne Co. v. Sunkist, 389 U.S. 384, 389-

90 (1967). Second, it prohibits “deal[ing] in the products of nonmembers to an amount greater in

value than such as are handled by it for members.” 7 U.S.C. § 291. Third, it requires either that:

(a) “no member of the association is allowed more than one vote because of the amount of stock

or membership capital he may own”; or (b) “the association does not pay dividends on stock or

membership capital in excess of 8 per centum per annum.” 7 U.S.C. § 291.9 Finally, the Act

provides that a qualifying “association” be “operated for the mutual benefit of the members

thereof, as such producers.” Id. All of these criteria are objective: farmers, associations, and

enforcement agencies must be able to determine whether an association qualifies under the Act

without an individualized, and highly subjective, inquiry each time the matter is put in issue. This

is discussed further in Section II, below.

       B.       USDA Has Long Understood the Capper-Volstead Act to Impose Purely
                Objective Qualifications And Has Repeatedly Certified DFA As A Qualifying
                Cooperative

       Congress charged the USDA with overseeing agricultural cooperatives under the Capper-

Volstead Act and related statutes governing agricultural marketing. See, e.g., 7 U.S.C. § 292


9
      Plaintiffs have not—and could not—argue that DFA fails to satisfy these qualifications.
DFA is owned entirely by its member dairy farmers; it has elected not to issue capital stock; and
no member is allowed more than one vote on account of his or her membership capital.


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[Capper-Volstead Section 2] (authorizing the USDA to hold hearings where it believes a

cooperative is charging undue prices); id. §§ 601-674 (governing agricultural adjustment and

marketing). The USDA’s longstanding practice under these statutes confirms that the Capper-

Volstead’s criteria operate as purely objective requirements regarding a cooperative’s

organizational structure, non-member business, voting rules, and how the risks and rewards of

membership are distributed among members.

       The Agricultural Marketing Agreement Act of 1937 (“AMAA”) governs pricing and

marketing conditions in regulated milk markets, including Federal Order 1. Congress granted the

USDA broad authority to implement the AMAA through rules and regulations carrying the force

of law. See 7 U.S.C. § 610(c) (providing that the Secretary of Agriculture “is authorized, with the

approval of the President, to make such regulations with the force and effect of law as may be

necessary to carry out the powers vested in him” under Title 7’s provisions regarding agricultural

marketing and adjustment); Exec. Order No. 10199, 15 Fed. Reg. 9217 (Dec. 21, 1950)

(Presidential order authorizing “the Secretary of Agriculture to make without the approval of the

President such regulations with the force and effect of law as may be necessary to carry out the

powers vested in him by the Agricultural Marketing Agreement Act of 1937”). Under USDA

regulations, agricultural associations seeking to benefit from the AMAA must submit an initial

application to the USDA, which the USDA uses to determine whether the association qualifies for

the AMAA’s “privileges and exemptions.” 7 C.F.R. § 900.350. And because the USDA’s initial

determination is subject to “amendment, termination or suspension if the association does not

currently meet the qualification standards,” the regulations require agricultural associations to

submit annual reports to allow the USDA to determine if the association presently qualifies. Id. §

900.355 (emphasis added). Of critical importance here, the USDA’s first consideration is whether




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the association is a “cooperative marketing association of producers, qualified under the provisions

of the . . . Capper-Volstead Act.” Id. § 900.353 (emphasis added). Put simply, a cooperative

cannot qualify under these regulations unless the USDA concludes that the association is “qualified

under the provisions of” the Capper-Volstead Act. Id.

       In making this determination, the USDA looks to objective criteria regarding a

cooperative’s purpose, membership, members voting rights, and how members share the benefits

and burdens of operation.10 A cooperative’s annual report to the USDA must therefore provide

notice of changes to its articles of incorporation or bylaws, the existence of any inactive or retired

members with voting rights, the value of nonmember business, and accounting statements.11 As

far as DFA is aware, the USDA has never taken the position that a cooperative’s business

judgment, or matters of internal self-governance, bear on whether an agricultural association is

“qualified under the provisions of” the Capper-Volstead Act. See 7 C.F.R. § 900.353. This

certification process shows that the expert agency charged with overseeing agricultural

cooperatives under the “labyrinth of the federal milk marketing provisions,” Zuber v. Allen, 396

U.S. 169, 172 (1969), views the Capper-Volstead Act’s requirements as purely objective.

       Applying that objective criteria, the USDA has routinely (and recently) certified DFA as a

qualifying cooperative under the Capper-Volstead Act. DFA’s predecessor, Mid-America

Dairymen, Inc., first received a determination that it qualified under the AMAA in 1968.12 The

USDA reached the same conclusion in 1998 when Mid-America Dairymen changed its name to


10
        See Decl. Exs. 1-2 (1968 Mid-America Dairymen Certification; 1998 DFA Certification).
Exhibits referenced herein refer to the concurrently filed June 15, 2020 Declaration of W. Todd
Miller.
11
        A current version of the form that cooperative milk marketing associations must submit
annually           to           the          USDA            is            available        at
https://www.ams.usda.gov/sites/default/files/media/DA24.pdf (last visited June 15, 2020).
12
       See Decl. Ex. 1 (1968 Mid-America Dairymen Certification).


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DFA.13 Since 1998, DFA has submitted annual reports to the USDA every year, and each year the

USDA has certified DFA under the AMAA.14 Under the regulations discussed above, the USDA

could not have certified DFA unless it determined that DFA qualified under the Capper-Volstead

Act.

       The USDA’s longstanding and consistent interpretation and practice warrant substantial

deference. See United States v. Mead Corp., 533 U.S. 218, 229, 235 (2001); Oak Tree Farm Dairy,

Inc. v. Block, 544 F. Supp. 1351, 1358-60 (E.D.N.Y. 1982) (concluding that Secretary of

Agriculture’s longstanding interpretation of milk classification statute was entitled to deference

because it was “a reasonable interpretation of the ordinary meaning attributable to the statutory

language, and clear evidence of a contrary, more confining legislative intent is lacking”); see also

Sec’y of Labor v. Cranesville Aggregate Coms., 878 F.3d 25, 33 (2d. Cir. 2017) (affording Chevron

deference to Secretary of Labor’s decision to bring a citation under OSHA as opposed to the Mine

Act because, by doing so, the Secretary “necessarily ruled that the Mine Act does not except

workplace conditions”).


       C.      The USDA’s Understanding of the Capper-Volstead Act Comports with the
               Act’s Text, Purpose, and History

       The USDA’s understanding of the Act’s qualifications finds ample support in the statute’s

language, purpose, and history. Congress enacted the Capper-Volstead Act in 1922 near the height




13
       See Decl. Ex. 2 (1998 DFA Certification).
14
        See Decl. Ex. 3 (List of Cooperative Milk Marketing Associations Holding Determinations
of Qualification Under the Agricultural Marketing Agreement Act of 1937, as amended as of May
27, 2020, Agricultural Marketing Service, USDA). The USDA’s list of cooperative milk
marketing associations that currently hold determinations of qualification under the AMAA is
published               on             the            USDA’s                website          at
https://www.ams.usda.gov/sites/default/files/media/QualifiedCooperativeMilkMarketingAssociat
ions.pdf (last visited June 15, 2020). DFA’s qualification is indicated on page 2.


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of the “cooperative movement,” which gained steam after World War I as support for “large-scale,

cooperative commodity marketing began to spread” across the country. Fairdale Farms, 635 F.2d

at 1041. But the Sherman Act, aimed as it is against concerted action by potential competitors,

threatened to imperil the growth of effective agricultural cooperatives. See Sunkist, 389 U.S. at

390-91.

        To remove that barrier, Congress first enacted Section 6 of the Clayton Act, declaring that

the antitrust laws shall not “forbid the existence and operation of labor, agricultural, or horticultural

organizations,” provided the organization is “instituted for the purposes of mutual help” and does

not operate for profit or issue capital stock. 15 U.S.C. § 17. The Capper-Volstead Act, enacted

eight years later, “broaden[ed] the scope of Section 6” by expressly authorizing agricultural

associations to conduct specific activities and to issue capital stock. Fairdale Farms, 635 F.2d at

1042; see also Sunkist, 389 U.S. at 391.

        But in seeking to give farmers the “competitive advantage” available to business

associations, Fairdale Farms, 635 F.2d at 1043, Congress particularly favored organizational

forms reflecting cooperative principles. Cooperatives have long distinguished themselves from

other corporate forms based on their “purpose,” “ownership and control,” and “how benefits are

distributed.”15 See, e.g., Shafer v. Farmers’ Grain Co. of Embden, 268 U.S. 189, 194 (1925)

(describing “farmers’ cooperative companies, which buy grain grown by their stockholders and

others in the vicinity of their elevators, ship and sell the same, and distribute as patronage dividends

the surplus arising from such transactions”). Congress crafted the Capper-Volstead Act’s statutory

prerequisites with these cooperative principles in mind. See Fairdale Farms, 635 F.2d at 1037.


15
       Rural Business-Cooperative Service, U.S. Department of Agriculture, Understanding
Cooperatives: Cooperative Business Principles, Cooperative Information Report § 2, 1 (rev. Apr.
2011), https://www.rd.usda.gov/files/CIR45_2.pdf.


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       Statutory usage from the early 19th century shows that statutes and courts drew distinctions

between (1) “mutual benefit associations” or “mutual benefit societies,” (2) traditional non-profit

organizations, and (3) traditional for-profit corporations.16 “Mutual benefit” associations or

societies were creatures of state law, similar to mutual life insurance companies. See, e.g., Idaho

ex rel. Conner v. W. Mut. Benefit Ass’n, 276 P. 37, 39 (Idaho 1929) (despite some distinctions, “it

has sometimes been said that there is no difference between mutual insurance companies and

mutual benefit societies”). The “fundamental difference” between mutual benefit societies and

for-profit corporations lies in the organizations’ purpose, ownership and control, and how benefits

are distributed. Ohio State Life Ins. Co. v. Clark, 274 F.2d 771, 775 (6th Cir. 1960). A for-profit

corporation “is owned and managed by the stockholders, who need not be policyholders,” and “the

corporation is operated for the purpose of profits for the stockholders and the beneficial ownership

of the profits and surplus is in the stockholders.” Id. By contrast, a “mutual benefit” society “is

owned and managed by policyholders and the business is conducted for the benefit of the

policyholders. The beneficial ownership of the profits and surplus is in the policyholders.” Id.

(emphasis added).

       Congress was aware of the distinction between “mutual benefit” societies and for-profit

corporations when it enacted the Capper-Volstead Act. During the floor debates, Senator Walsh

proposed an alternate bill providing a more limited grant of immunity to agricultural associations.

The bill provided that “[s]uch associations shall not be deemed organized for pecuniary profit in

the sense of paying a return or dividends on the stock investment, but for the mutual benefit of its



16
        See Young Men’s Protestant Temperance & Ben. Soc’y v. Fall River, 36 N.E. 57, 57-58
(Mass. 1894) (distinguishing ordinary non-profits from “mutual insurance societies or mutual
benefit societies,” operated “not as charitable institutions,” but “for the mutual benefit of the
contributors”).


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members through the application of cooperative principles.”          62 Cong. Rec. 2171 (1922)

(emphases added). By placing “mutual benefit” in context, Senator Walsh’s proposal shows that

Congress understood the term as a principle distinguishing cooperatives from for-profit

corporations.

       Section 6 of the Clayton Act is also illustrative. Enacted eight years before the Capper-

Volstead Act, Section 6 afforded immunity to associations “instituted for the purposes of mutual

help.” 15 U.S.C. § 17. Congress passed the Capper-Volstead to “broaden the scope” of the

immunity Section 6 provided. Fairdale Farms, 635 F.2d at 1042. Section 6’s requirement that an

association be “instituted for the purposes of mutual help,” 15 U.S.C. § 17, parallels Capper-

Volstead’s requirement that an association be “operated for the mutual benefit” of members, 7

U.S.C. § 291. And in interpreting Section 6, courts have held that its “mutual help” requirement

is satisfied if the association “acts as the marketing agency for all of its members and pays over to

its members the proceeds of the milk sales, with a deduction, of course, for overhead and similar

expenses.” United States v. Md. & Va. Milk Producers Assoc., 167 F. Supp. 45, 49 (D.D.C. 1958),

aff’d in part, rev’d in part on other grounds, 362 U.S. 458 (1960); see also N. Cal. Supermarkets,

Inc. v. Cent. Cal. Lettuce Producers Coop., 413 F. Supp. 984, 988-89 (N.D. Cal. 1976) (“The

structural requirements for Section 6 exemptions are not stringent”). Because the Capper-Volstead

Act was intended to expand, not constrict, Section 6 immunity, it would make little sense to read

the Act’s “mutual benefit” requirement more narrowly than Section 6. See Fairdale Farms, 635

F.2d at 1042.17

       Read in context, the “mutual benefit” requirement works together with the Act’s other


17
       DFA does not have capital stock and is not conducted for profit, and therefore qualifies for
Section 6’s exemptions. See 15 U.S.C. § 17. Plaintiffs have not indicated that they intend to
challenge that DFA was “instituted for the purposes of mutual help” as required by Section 6.


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qualifications to “insure that qualifying associations be truly organized and controlled by, and for,

producers.” Sunkist, 389 U.S. at 393-94. They do so by limiting membership to agricultural

producers; imposing objective limits on voting or capital-returns; capping dealings in the products

of non-members; and ensuring that producers share in the benefits and burdens of operation. See

id. Nothing in the Act, its legislative history, or broader statutory context supports an interpretation

of “mutual benefit” that would make the Act’s important protections turn on the subjective inquiry

plaintiffs’ argument and evidence here entail.

II.    PLAINTIFFS’ UNDERSTANDING     OF   “MUTUAL   BENEFIT”                                         IS
       UNPRECEDENTED, UNPRINCIPLED, AND WOULD HARM FARMERS

       Plaintiffs, of course, never dispute that DFA is structured as a cooperative, and that

members share the risks and rewards of membership. Nor could they. While plaintiffs have yet

to articulate precisely how they would define the “mutual benefit” requirement, they apparently

believe it gives courts license to strip a cooperative of immunity based on an open-ended and

subjective inquiry into a cooperative’s business judgments or the actions of rogue employees.18

Such an interpretation finds no support in the case law, would put courts (and juries) in the

impossible position of second-guessing business decisions under an undefined and amorphous

standard, and—most troubling of all—would harm the very farmers that Congress intended to

protect. That cannot be the law.

       In the 100-year history of the Act, not a single court has adopted plaintiffs’ preferred

reading of “mutual benefit.” The dearth of precedent supporting plaintiffs speaks volumes.

Agricultural cooperatives frequently raise the Capper-Volstead Act as a defense in antitrust cases,

and like any large business organization, cooperatives are not immune from the sort of governance

disputes, familiar to corporate law, that plaintiffs hope to make a centerpiece of this antitrust case.


18
       See supra n.6 (discussing Motion in Limine No. 3).


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See, e.g., Bell v. Fur Breeders Agric. Coop., 348 F.3d 1224, 1234-35 (10th Cir. 2003) (the Act

anticipates that management will “act unilaterally in benefit of the single enterprise,” though it is

“unlikely that every decision by [the cooperative’s] board members will always benefit every

individual member”). The fact that no court has ever treated this sort of evidence as relevant under

the “mutual benefit” element suggests that plaintiffs’ interpretation of that language is wrong.

       Indeed, only a few courts have even considered an argument that a fully farmer-owned

cooperative should be stripped of its Capper-Volstead Act immunity because it did not operate for

the “mutual benefit” of its members, and all have rejected that argument. Although these courts

did not offer an affirmative interpretation of “mutual benefit,” none support plaintiffs’

understanding of the requirement. See Alexander v. Nat’l Farmers Org., 687 F.2d 1173, 1184-85

(8th Cir. 1982) (rejecting argument that a dairy cooperative did not operate for the mutual benefit

because it was precluded from paying a dividend under the laws of the state where it was

incorporated); Waters v. Nat’l Farmers Org., 328 F. Supp. 1229, 1245 (S.D. Ind. 1971) (same);

Agritronics Corp. v. Nat’l Dairy Herd Ass’n, No. 94-cv-0066, 1994 WL 542203, at *5 (N.D.N.Y.

Sept. 22, 1994) (finding “no authority” to support plaintiff’s argument that a cooperative did not

operate for the mutual benefit of its members because it was “intertwined with Pennsylvania State

University,” which provided the association with “facility and employees”).

       Not only is plaintiffs’ understanding of “mutual benefit” unprecedented and wrong, it is

unworkable. Plaintiffs take aim at what they characterize as management’s “favoring of growth

over farmer patronage,” or a supposed over-investment in processing capacity.19 But “processing,”

“handling,” “preparing for market,” and “marketing” are all activities that the Capper-Volstead

Act affirmatively authorizes producer-owned cooperatives to perform. 7 U.S.C. § 291. To the


19
       PSOF ¶ 104; see also id. ¶¶ 96-98.


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extent plaintiffs envision a standard that would permit a court to decide whether a cooperative has

gone too far in investing in “processing” or “marketing” activities, there is simply no principled

way to draw that line. And the Act’s explicit authorization of these activities shows that Congress

did not want courts in the business of line drawing at all.

          Finally, any standard that would permit courts to erase a cooperative’s Capper-Volstead

Act immunity by second-guessing how a cooperative manages its business would harm the very

farmers the Act was designed to help. Allowing litigants to strip a cooperative’s Capper-Volstead

Act immunity by pointing to these sorts of disputes would carry devastating repercussions for each

of the cooperative’s farmer-members, who could immediately find themselves exposed to treble

damages for price-fixing with fellow farmer members. Congress could not have intended that

result.

III.      A PRE-TRIAL RULING IS NEEDED TO ENSURE A FAIR TRIAL

          The sole issue addressed by this motion—whether discrete categories of evidence and

argument are relevant to a statutory precondition—is a pure question of law ripe for resolution.

See United States v. Torniero, 735 F.2d 725, 730 (2d Cir. 1984) (“Relevance is a question of law

to be decided by the trial judge.”); United States v. Williams, 733 F.3d 448, 452 (2d Cir. 2013)

(statutory interpretation is a question of law). Courts in the Second Circuit routinely decide

motions in limine where the relevance of evidence turns on statutory interpretation, as that is often

the only way to ensure the jury does not hear inflammatory and ultimately irrelevant evidence.

See, e.g., Henderson, 87 F. Supp. 3d at 614-15 (ruling on motion in limine to preclude evidence

where relevance turned on an issue of “first impression” regarding the interpretation of a federal

statute); United States v. Laughlin, 768 F. Supp. 957, 960 (N.D.N.Y 1991) (finding it “proper to

resolve” a dispute regarding the elements of an offense given “the unsettled state of the law”).



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       A pre-trial ruling is particularly warranted here. The argument plaintiffs intend to offer to

rebut DFA’s Capper-Volstead status appears calculated to bias the jury against DFA. See United

States v. Al-Moayad, 545 F.3d 139, 161 (2d Cir. 2008) (overturning district court’s admission of

“inflammatory” testimony “almost entirely unrelated” to government’s case because it amounted

to a “blatant appeal to the jury’s emotions and prejudices”). And there can be no question that

plaintiffs intend for it to feature prominently at trial.20 Once heard by the jury, no motion to strike,

limiting instruction, or jury charge could possibly cure the prejudice to DFA.

                                          CONCLUSION

       For the foregoing reasons, DFA respectfully requests that the Court grant its motion in

limine to preclude the introduction of evidence or argument that DFA does not satisfy the Capper-

Volstead Act’s qualification requirement that it be operated for the “mutual benefit” of its

members, and exclude evidence or argument that DFA is not a Capper-Volstead cooperative. DFA

respectfully requests a hearing on this motion.




20
       See, e.g., PSOF ¶¶ 93-116.


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Dated: June 15, 2020                   Respectfully submitted,

                                        /s/ Alfred C. Pfeiffer Jr.
                                       Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       505 Montgomery Street, Suite 2000
                                       San Francisco, CA 94111
                                       Telephone: 415-391-0600
                                       Facsimile: 415-395-8095
                                       Email: al.pfeiffer@lw.com
                                       Margaret M. Zwisler (admitted pro hac vice)
                                       Jennifer L. Giordano (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       555 Eleventh Street, NW, Suite 1000
                                       Washington, DC 20004
                                       Telephone: 202-637-2200
                                       Facsimile: 202-637-2201
                                       Email: margaret.zwisler@lw.com
                                       Email: jennifer.giordano@lw.com
                                       W. Todd Miller (admitted pro hac vice)
                                       BAKER & MILLER PLLC
                                       2401 Pennsylvania Avenue, NW, Suite 300
                                       Washington, DC 20037
                                       Telephone: 202-663-7820
                                       Facsimile: 202-663-7849
                                       Email: tmiller@bakerandmiller.com
                                       Ian P. Carleton
                                       SHEEHEY FURLONG & BEHM P.C.
                                       30 Main Street, P.O. Box 66
                                       Burlington, VT 05402
                                       Telephone: 802-864-9891
                                       Email: icarleton@sheeheyvt.com
                                       Counsel for Defendants Dairy Farmers of
                                       America, Inc. and Dairy Marketing Services,
                                       LLC
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                     LOCAL RULE 7(A)(7) CERTIFICATION OF COUNSEL

       Pursuant to Local Rule 7(a)(7), the undersigned counsel for DFA certifies that DFA made

a good faith attempt to obtain plaintiffs’ agreement to the requested relief in this motion, but was

not able to do so.

Dated: June 15, 2020
                                                  /s/ Alfred C. Pfeiffer Jr.
                                                  Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                                  LATHAM & WATKINS LLP
                                                  505 Montgomery Street, Suite 2000
                                                  San Francisco, CA 94111
                                                  Telephone: 415-391-0600
                                                  Facsimile: 415-395-8095
                                                  Email: al.pfeiffer@lw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2020, I electronically filed with the Clerk of Court the

foregoing document using the CM/ECF system. The CM/ECF system will provide service of such

filing via Notice of Electronic Filing (NEF) to the following NEF parties:

       Joel G. Beckman, Esq. (jbeckman@nbparis.com)

       Gary L. Franklin, Esq. (gfranklin@primmer.com)

       William C. Nystrom, Esq. (wnystrom@nbparis.com)

       Elizabeth A. Reidy, Esq. (ereidy@nbparis.com)

       Dana A. Zakarian, Esq. (dzakarian@nbparis.com)


Dated: June 15, 2020                              /s/ Alfred C. Pfeiffer Jr.
                                                 Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                                 LATHAM & WATKINS LLP
                                                 505 Montgomery Street, Suite 2000
                                                 San Francisco, CA 94111
                                                 Telephone: 415-391-0600
                                                 Facsimile: 415-395-8095
                                                 Email: al.pfeiffer@lw.com
